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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA




 JASON LEOPOLD,
                 Plaintiff,
                                                      Civil Action No. 1:22–cv–01920–JEB
 v.
 U.S. DEPARTMENT OF JUSTICE,
                 Defendant.



                                  JOINT STATUS REPORT

       The Parties respectfully submit the instant joint status report in response to the Court’s

December 6, 2022 Minute Order. The Parties have continued to confer regarding the Plaintiff’s

Freedom of Information Act (FOIA) request.

       As the parties previously reported, National Security Division and Criminal Division

have moved forward with searches for records responsive to all three parts of Plaintiff’s FOIA

request, and the National Security Division has sent Plaintiff an interim response addressing part

3 of his request. The National Security Division has now completed its search for records

potentially responsive to parts 1 and 2 of his request, and is conducting a review of the

potentially responsive records. As the parties also previously reported, the Criminal Division has

also completed its search for potentially responsive records, and its responsiveness review is

ongoing. The parties respectfully propose that the Court permit them to submit their next joint

status report in 30 days, on May 19, 2023.




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Respectfully submitted this 19th day of April, 2023.


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                                              Principal Deputy Assistant Attorney General

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                                              /s/ Julia A. Heiman
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